Case 1:05-cv-OlOll-.]DT-STA Document 14 Filed 08/25/05 Page 1 of 3 Page|D 20

”c`/r{[;~
0 g `?'*’ §
m THE uNlTEo sTATEs DisTRlcT couRT FoR THE 54@6.2 \
5

FoR THE wEsTERN olsTRlcT oF TENNEssEE
EAsTERN DivlsloN o "< _ ’°/? /

 

“`!;/"),Z‘f§°{}i@
* .;,,?:,q_,q
JOHN LAWRENcE, W{JQ%/,
P|aintiff, *
vs. * No. 1-05-1011-T/An
BENToN couNTY, TENNESSEE, *

and BANK OF CAN'|DEN,

Defendants.

 

CONSENT ORDER GRANT|NG SUMMARY JUDGMENT lN FAVOR OF
DEFENDANT BANK OF CAMDEN

 

Upon Defendant Bank of Camden having moved the Court for summaryjudgment,
and upon P|aintiff, by and through counse|, having consented to the i\/|otion for Summary
Judgrnent filed t_)y Defendant Bank of Camden, it is agreed by consent that there is no
genuine issue as to any material fact concerning the allegations of P|aintiff against
Defendant Bank of Camden and that Detendant Bank of Camden is entitled to judgment
as a matter of |aw,

|T |S, THEREFORE, ORDERED, ADJUDGED AND DECREED that the summary
judgment be granted in favor of Defendant Bank of Camden by consent and that this cause
is hereby dismissed With prejudice With respect to Defendant Bank of Camden pursuant to

Federal Ru|e of Civi| Procedure 56.

This document entered on the docket h in n pl nce
with nuie se and,'or_?s (a) Fr=icP on (0

Case 1:05-cv-01011-.]DT-STA Document 14 Filed 08/25/05 Page 2 of 3 Page|D 21

FURTHER, |T lS ORDERED that, upon the Court expressly stating, pursuant to
Federa| Rule of Civi| Procedure 54, theret's~,ho justre'a‘son"for delay in entry of final
judgment, this judgment is a final judgment of dismissal of defendant Bank of Camden.

Enter this the §§ day ofAugust, 2005.

WD'M

JuDGE%/AMES D. TODD

APPROVED FC-R ENTRY:

' d/L-¢?

fM»-" D-cs)rcur»‘¢..\ Li., Ww-'JS#)» c twa

FRANK DESLALJR|ERS (BPRj #12051)
Attomeys for Plaintiff

P. O. Box 1156

Covington, TN 38019

§2)]¢,.0~ §¢Lw»/J ¢, /z{ 1162_£.`¢ €/b’/JJ.
JOHN D. SCHWALB (BPR # 01.1671)
Attorneys for Defendant Benton County
Wi||iams & Schvva|b, PLLC
The Lotz House
1111 Co|umbia Avenue
Frank|in, TN 37064

Flww ,B~ ah n¢»->c»»~ /fm

ANDY FRAZiEF; (BPR # 07495)
Attorneys for Defendant Bank of Camden
Frazier & Whitworth

P. O. Bo)< 208

116 East l\/iain St.

Camden, TN 38320

;Qa-*)‘>»é/Lf¢<.`.-
ROBERT O. BINKLEY, JR. (BPR #11991)
Attorneys for Defendant Bank of Camden
Rainey, Kizer R`eviere & Be||, PLC
209 East |Vlain Street
P.O. Box 1147
Jackson, TN 38302-1147

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 14 in
case 1:05-CV-01011 Was distributed by faX, mail, or direct printing on
August 26, 2005 to the parties listed.

ESSEE

 

Robert O. Binkley

RAINEY KIZER BUTLER REVIERE & BELL

209 East Main Street
Jackson7 TN 38302--114

Andrevv B. Frazier
FRAZIER & WHITWORTH
116 East Main St.

Camden, TN 38320

Frank M. DesLauriers
DESLAURIERS LAW FIRM
P.O. Box 1 156

Covington, TN 38019--115

John D. SchWalb

WILLIAMS & SCHV\MLB7 PLLC
1 1 1 1 Columbia Ave.

Franklin, TN 37064

Honorable J ames Todd
US DISTRICT COURT

